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                         Exhibit 1
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From:            Christopher Murphy
To:              Jeff Carruth
Subject:         KRS v CMS - Texas HHSC Inquiry
Date:            Wednesday, April 17, 2024 2:15:48 PM
Attachments:     image001.png


Good afternoon Jeff,

I hope you’re doing well. I represent the Texas HHSC in the Remarkable bankruptcy case. I saw the
NDTX complaint that was filed today and was curious to hear if you managed to get a TRO setting
either today or tomorrow? Thanks in advance for any info you can pass along. HHSC is closely
monitoring the situation to see how the federal action progresses.

Thanks,
Chris

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